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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 14-61162-CIV-COHN/SELTZER

 ABEL CASTANON and other
 similarly situated individuals,

        Plaintiff,

 v.

 123 WASH INC., d/b/a
 Superior Wash, et al.,

      Defendants.
 ___________________________/

                          ORDER SETTING MOTION HEARING

        THIS CAUSE is before the Court upon Defendants’ Motion for Sanctions [DE 29]

 and Defendants’ Verified Motion to Assess Attorney Fees [DE 34] (together, “Motions”).

 Having carefully reviewed the Motions and all related filings, the Court finds it necessary

 to hold a hearing concerning the issues raised in the Motions. Accordingly, it is hereby

        ORDERED AND ADJUDGED as follows:

 1.     A hearing on Defendants’ Motion for Sanctions [DE 29] and Defendants’ Verified

        Motion to Assess Attorney Fees [DE 34] is SET for August 10, 2015, at 9:00 a.m.,

        in Courtroom 203E of the United States Courthouse, 299 East Broward Boulevard,

        Fort Lauderdale, Florida;

 2.     By August 3, 2015, Plaintiff and Defendants shall file Witness Lists identifying

        any witnesses that the parties expect to call at the motion hearing. At the option

        of the parties, direct testimony may be submitted in the form of written affidavits;

        however, all affiants will be subject to live cross examination at the hearing;
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 3.     Also by August 3, 2015, Plaintiff and Defendants shall file Exhibit Lists

        identifying any exhibits that the parties plan to introduce at the motion hearing.

        All exhibits shall be pre-labeled in accordance with the proposed Exhibit Lists.

        Exhibit labels must include the case number; and

 4.     If an interpreter is needed for any witness to testify, then the party or parties

        requiring the interpreter shall advise the Court, which can provide a list of

        interpreters for hire.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 14th day of July, 2015.




 Copies provided to:

 Counsel of record via CM/ECF




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